 23-03004-cgb Doc#139-23 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 23. Motion
                                        to Convert Pg 1 of 6
EXHIBIT 23 - MOTION TO CONVERT (DKT. 264)




                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

    IN RE:                                          §
                                                    §
    PDG PRESTIGE, INC.,                             §                  Case No. 21-30107
                                                    §
    Debtor.                                         §
                                                    §

                         MOTION TO CONVERT CASE TO CHAPTER 7

  TO THE HONORABLE H. CHRISTOPHER MOTT, U.S. BANKRUPTCY JUDGE:

    THIS PLEADING REQUESTS RELIEF THAT MAY BE ADVERSE TO YOUR
    INTERESTS.
    IF NO TIMELY RESPONSE IS FILED WITHIN TWENTY ONE (21) DAYS FROM
    THE DATE OF SERVICE, THE RELIEF REQUESTED HEREIN MAY BE GRANTED
    WITHOUT A HEARING BEING HELD.
    A TIMELY FILED RESPONSE IS NECESSARY FOR A HEARING TO BE HELD.

        PDG Prestige Inc., debtor and reorganized debtor herein (“Debtor”), files this Motion to
  Convert Case to Chapter 7 and in support thereof would show to the Court the following.

         1.       On February 15, 2021, Debtor filed this case by filing a voluntary petition under
  Chapter 11.

         2.     On March 31 2022, the Court entered the Order Confirming Second Amended Plan
  of Reorganization PDG Prestige, Inc. Dated March 29, 2022 as Modified (Re: Docket No.
  145)(Docket No. 148) confirming the Second Amended Plan of Reorganization of PDG Prestige,
  Inc. Dated March 29, 2022, as Modified (Docket No. 145) of the Debtor (collectively, the
  “Confirmed Plan”).

          3.      Since March 31, 2022, Debtor has not completed performance of the Confirmed
  Plan.

          4.      Since October-November, 2022, Legalist

               a. directly and/or indirectly has controlled the sale process of Lot 3A, including the
                  timing of any sale; and

               b. has rejected one or more sale offers for the remaining Lot 3A, which offers were
                  procured by the Debtor at the request of Legalist and presented by the Debtor to



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                               to Convert Pg 2 of 6



               Legalist, and which offers separately came from third parties and from Mr. Dixson,
               and ranged at various times from $1.4 million to $2.0 million.

     5.      The parties have possessed a CBRE appraisal of Lot 3A from November or
December, 2022, indicating the value of the land.

       6.     Legalist responded to the sale offers that it required time to study the valuation of
the remaining Lot 3A, and yet after eight to nine months have passed for such valuation study
without any movement from Legalist.

      7.     Consequently, Debtor requests that the Court convert this case to Chapter 7 of the
Bankruptcy Code.

        8.      Debtor reserves the right to amend, supplement, and/or withdraw this Motion prior
to any hearing.
        WEREFORE, PDG Prestige Inc., debtor and reorganized debtor here, respectfully request
that the Court convert this case to a case under Chapter 7 of the Bankruptcy Code. Movant
respectfully requests such other and further relief to which Movant is entitled at law or in equity.


 Dated: June 23, 2023                     Respectfully submitted:

                                          WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                          By:     /s/ Jeff Carruth
                                                JEFF CARRUTH (TX SBN:. 24001846)
                                                3030 Matlock Rd., Suite 201
                                                Arlington, Texas 76105
                                                Telephone: (713) 341-1158
                                                E-mail: jcarruth@wkpz.com

                                          ATTORNEYS FOR
                                          PDG PRESTIGE, INC.
                                          REORGANIZED DEBTOR

                                 CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and correct copy of the foregoing was served on June
23, 2023 by electronic notice, only, to counsel for Legalist and all ECF users who have appeared
in this case to date and by regular mail to any party not appearing on the ECF list.

                                                     /s/ Jeff Carruth
                                                     JEFF CARRUTH




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                               to Convert Pg 3 of 6


21-30107-hcm Notice will be electronically mailed to: (DUPLICATES DELETED)

James W. Brewer on behalf of Creditor New Mexico Real Estate Advisors, Inc. d/b/a Colliers
International
jbrewer@kempsmith.com, tschoemer@kempsmith.com

Jeff Carruth on behalf of Debtor PDG Prestige, Inc.
jcarruth@wkpz.com, jcarruth@aol.com;ATTY_CARRUTH@trustesolutions.com

Harrel L. Davis, III on behalf of Creditor Suresh Kumar
hdavis@eplawyers.com, vrust@eplawyers.com;vpena@eplawyers.com

James Michael Feuille on behalf of Creditor Dennis Crimmins
jfeu@scotthulse.com, tmar@scotthulse.com

David P. Lutz on behalf of Debtor PDG Prestige, Inc.
dplutz@qwestoffice.net

David P. Lutz on behalf of Defendant PDG Prestige, Inc.
dplutz@qwestoffice.net

Michael R. Nevarez on behalf of Interested Party Westar Investors Group, LLC
MNevarez@LawOfficesMRN.com, MRN4Bankruptcy@gmail.com

Brad W. Odell on behalf of Creditor City bank
bodell@mhba.com, memert@mhba.com;mreynolds@mhba.com;bwodellscvtxw@ecf.axosfs.com

Clyde A. Pine, Jr. on behalf of Creditor HD Lending, LLC
pine@mgmsg.com, clyde.pine@gmail.com

James W Rose, Jr on behalf of U.S. Trustee United States Trustee - EP12
james.rose@usdoj.gov,
brian.r.henault@usdoj.gov;carey.a.tompkins@usdoj.gov;Roxana.peterson@usdoj.gov;aubrey.thomas@us
doj.gov

Donald P. Stecker on behalf of Creditor City Of El Paso
don.stecker@lgbs.com

Casey Scott Stevenson on behalf of Plaintiff Dennis Crimmins
cste@scotthulse.com, svar@scotthulse.com

United States Trustee - EP12
USTPRegion07.SN.ECF@usdoj.gov




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                               to Convert Pg 5 of 6




                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

  IN RE:                                         §
                                                 §
  PDG PRESTIGE, INC.,                            §                  Case No. 21-30107
                                                 §
  Debtor.                                        §
                                                 §

           ORDER GRANTING MOTION TO CONVERT CASE TO CHAPTER 7
                           (RE: DOCKET NO. 264)


       On this day came on for consideration the Moton to Covert Case to Chapter 7 filed herein

on June 23, 2023 by PDG Prestige Inc. debtor and reorganized debtor herein. Upon review of the

record before the Court, the Court finds and concludes that the following Order should be entered.

IT IS THEREFORE ORDERED THAT:
    1. This case is converted to a case under Chapter 7 of the Bankruptcy Code effective upon
       entry of this order.
                                     ### END OF ORDERs




ORDER GRANTING MOTION TO CONVERT CASE TO CHAPTER 7 — Page 5                           2349580.DOCX[4]
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                               to Convert Pg 6 of 6




                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

  IN RE:                                         §
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  PDG PRESTIGE, INC.,                            §                  Case No. 21-30107
                                                 §
  Debtor.                                        §
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ORDER GRANTING MOTION TO CONVERT CASE TO CHAPTER 7 — Page 5                           2349580.DOCX[4]
